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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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       LAUGHING RABBIT, INC.,                                  Case No. 20-1513RSL
10
                            Plaintiff,                         ORDER DENYING MOTION
11
                       v.                                      TO STRIKE DEFENDANT’S
12                                                             AFFIRMATIVE DEFENSES
       LASER BONDING TECH, INC.,
13
                            Defendant.
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16         This matter comes before the Court on the motion of Laughing Rabbit, Inc., to strike
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     defendant’s affirmative defenses. Dkt. # 9. In response, Laser Bonding Tech, Inc., filed an
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19 amended pleading which addresses the issues raise in the motion. Laughing Rabbit did not file a
20 reply and has not moved to strike the amended defenses. The Court therefore denies plaintiff’s
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   motion to strike as moot.
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24         Dated this 22nd day of November, 2021.
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26                                                   Robert S. Lasnik
                                                     United States District Judge
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     ORDER DENYING MOTION TO STRIKE - 1
